     Case 1:18-cr-00309-LMM-LTW Document 121 Filed 08/24/21 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA
                                               Criminal Action No.:
      versus                                   1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


        RESPONSE TO GOVERNMENT’S PROPOSED VOIR DIRE

      COMES NOW, the Defendant, Chalmer Detling, II, and hereby responds to

the government’s proposed voir dire. In response, Mr. Detling shows as follows:

                                         (1)

      The government’s proposed jury questions include a number of questions

regarding the Georgia State Bar, its rules, and disciplinary proceedings.

Specifically, questions 22 and 23 relate to such matters. (Doc. 112 at 6). Mr.

Detling has previously moved to exclude all of the Georgia State Bar proceedings.

(Doc. 105). The jury will not be deciding whether Mr. Detling violated Georgia

Bar rules or whether his conduct was unethical but rather whether the jury believes

that the government has met its burden to prove beyond a reasonable doubt of each

and every element of the charges for wire fraud and aggravated identity theft. If the

Georgia State Bar rules and related matters are presented to the jury through voir

dire, there is a danger of confusing the jurors regarding the issues presented to
     Case 1:18-cr-00309-LMM-LTW Document 121 Filed 08/24/21 Page 2 of 3




them. Consequently, Mr. Detling objects to the government’s questions on these

matters.

                                         (2)

      The government has also proposed questions, 24, 25, and 26, regarding the

jury’s verdict and punishment in the event of a conviction. (Doc. 112 at 7). Mr.

Detling does not object to these questions being asked but if the questions are

asked, he requests that the Court supplement the questions with an additional

question: Can you follow the Court’s instructions that the government must prove

beyond a reasonable doubt each and every element of each individual charge and

respect that Mr. Detling is presumed to be innocent unless and until the

government meets its burden of proving his guilt beyond a reasonable doubt. Such

a question would provide the necessary balance to the questions proposed by the

government.

                                         (3)

      The government’s proposed questions do not include a question as to

whether the jury is familiar with their witnesses. Mr. Detling requests that the voir

dire be supplemented with a question regarding whether the jurors know or are

related to any government witnesses along with a list of those witnesses. In Mr.

Detling’s proposed voir dire, there is no question regarding the defense paralegal,

but the jury should be asked whether they know Max Tinter.


                                          2
     Case 1:18-cr-00309-LMM-LTW Document 121 Filed 08/24/21 Page 3 of 3




                                   Conclusion

      For the foregoing reasons, Mr. Detling asks that the Court deny the

government’s request that the jury be asked questions 22 and 23, supplement the

government’s questions with the defense question proposed above, and include a

question regarding whether the jurors know the witnesses or our paralegal,

Max Tinter.



      Dated: This 24th day of August, 2021.


                               Respectfully Submitted,

                               /s/ Caitlyn Wade
                               Caitlyn Wade
                               Georgia Bar No. 259114

                               s/ Suzanne Hashimi
                               Suzanne Hashimi
                               State Bar No. 335616

                               Attorneys for Mr. Detling




                                        3
